       Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 1 of 78




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC d/b/a                       )
 BRAZOS LICENSING AND                              )
 DEVELOPMENT                                       )
                                                   )
                       Plaintiff,                  )   Case No. 6:20-cv-475-ADA
                                                   )   Case No. 6:20-cv-477-ADA
        v.                                         )   Case No. 6:20-cv-478-ADA
                                                   )   Case No. 6:20-cv-479-ADA
 DELL TECHNOLOGIES INC., DELL INC.,                )
 AND EMC CORPORATION,

                       Defendants.

         NOTICE OF SUBPOENA DIRECTED TO THIRD-PARTY BASEPOINT
                         ADMINISTRATIVE, LLC

       PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Defendants intend to serve the attached subpoena on Basepoint Administrative, LLC

on or after August 20, 2021. The subpoena requests that Basepoint Administrative, LLC produce

all documents and things requested in Appendix A to the attached subpoena. The documents and

things are to be produced on or before 5:00 p.m. on September 10, 2021, or on another mutually

agreeable date, at the offices of Shelton Coburn LLP, 311 Ranch Road 620 S, Suite 205, Austin,

Texas 78734-4775 USA, or at another mutually agreeable location. The deposition shall be upon

oral examination before an officer authorized to administer oaths and shall be recorded by audio,

videographic, and/or stenographic means. The deposition will take place on one day. Defendants

will take up to 7 hours of deposition testimony.

Dated: August 20, 2021                     By: /s/ Barry K. Shelton
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 2 of 78




                                    Barry K. Shelton
                                    Texas State Bar No. 24055029
                                    bshelton@sheltoncoburn.com
                                    SHELTON COBURN LLP
                                    311 RR 620, Suite 205
                                    Austin, TX 78734-4775
                                    Telephone: 512.263.2165
                                    Facsimile: 512.263.2166

                                    Attorney for Defendants




                                2
AO 88A (Rev.   / ) Subpoena to Testify at a Deposition in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Western District of __________
                                                      __________              Texas

                                                                              )
                             Plaintiff                                        )
                                v.                                            )      Civil Action No.
                                                                              )
                                                                              )
                            Defendant                                         )

                           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:

                                                     (Name of person to whom this subpoena is directed)




 Place:                                                                               Date and Time:


          The deposition will be recorded by this method:

          Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:     Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 3 of 78
                                CLERK OF COURT
                                                                                        OR

                                         Signature of Clerk or Deputy Clerk                               Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                         .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information
        Case            regarding attempted
              6:20-cv-00486-ADA             service,Filed
                                  Document 167-2      etc.:03/14/22 Page 4 of 78
AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                            Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or             (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                            (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated      requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.   (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for       (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,  under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                    material must:
     (i) At any time, on notice to the commanded person, the serving party         (i) expressly make the claim; and
may move the court for the district where compliance is required for an            (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                    tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the   privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from   (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                subpoena is subject to a claim of privilege or of protection as
                                                                              trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                        that received the information of the claim and the basis for it. After being
                                                                              notified, a party must promptly return, sequester, or destroy the specified
   (A) When Required. On timely motion, the court for the district where      information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                  until the claim is resolved; must take reasonable steps to retrieve the
                                                                              information if the party disclosed it before being notified; and may promptly
     (i) failsCase
               to allow a reasonable time to comply;
                      6:20-cv-00486-ADA        Document 167-2 Filed 03/14/22  present   the information
                                                                                     Page    5 of 78 under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits          compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                      produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                  (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a         The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on     motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                          who, having been served, fails without adequate excuse to obey the
                                                                              subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 6 of 78




        APPENDIX A
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 7 of 78




            EXHIBIT 1
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 8 of 78




                                 DOCUMENTS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation (collectively,

 “Defendants”) request the production of the documents described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case numbers 6:20-cv-00475-ADA, 6:20-cv-00477-ADA, 6:20-cv-

       00478-ADA, 6:20-cv-00479-ADA is attached as Exhibit 3. In referring to any device,

       product, or other thing as an “Accused Product,” Defendants in no way communicate their

       agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case numbers: 6:20-cv-00475-ADA, 6:20-cv-

       00477-ADA, 6:20-cv-00478-ADA, 6:20-cv-00479-ADA.

3.     “Alcatel” shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

       predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

5.     “Asserted Patent(s)” shall refer to U.S. Patent Nos. 7,126,921; 7,453,888; 8,402,129;

       8,913,489 and any patent applications related thereto.

6.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.




                                                 2
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 9 of 78




7.    “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

      2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

      2020, and any other amended complaints thereafter.

8.    “Concerning,” “refer(s) to,” “related to,” “reflecting,” “regarding,” and “relating to” shall

      mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

      pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

      embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

      as the context makes appropriate.

9.    “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., and EMC

      Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

10.   “Document” shall include, without limitation, all documents, electronically stored

      information, and tangible things within the scope of the Federal Rules of Civil Procedure,

      including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

      documents or electronically stored information—including writings, drawings, graphs,

      charts, photographs, sound recordings, images, and other data or data compilations—stored

      in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things.”

11.   “Employee” shall refer to any officer, director, partner, employee, representative, or agent.




                                                3
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 10 of 78




12.   “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

      other understanding, written, oral or implied, that the entity has any rights to the Asserted

      Patent, any Related Patents, or any Related Applications, may practice one or more claims

      of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

      that entity one or more claims of the Asserted Patent or any Related Patent or Related

      Application.

13.   “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

      predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

      Networks BV.

14.   “Other Action Defendants” shall refer to any of the entities that Plaintiff has accused of

      patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

      Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

      and NetGear).

15.   “Other Action Patents” shall refer to any patent that was asserted against any of the Other

      Action Defendants.

16.   “Person” shall refer to any natural person, firm, association, partnership, government

      agency, corporation, proprietorship, or other entity and its officers, directors, partners,

      employee, representatives, and agents.

17.   The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

      Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

      current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

      employees, representatives, directors, officers, trustees, and attorneys, or any other person




                                                 4
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 11 of 78




      or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

18.   “Prior Art” encompasses, without limitation, the subject matter described in each and every

      subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

      notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

      drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

      for sale or license, and sales.

19.   “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

      appliance, software, service, process, or an assemblage of components/parts (either

      individually or collectively) that are designed to function together electronically,

      mechanically, or otherwise, including any offered for sale or under development.

20.   “Related Application(s)” means any and all applications related to the Asserted Patent,

      including any provisional or non-provisional applications, continuations, continuations- in-

      part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

      applications, and any other applications disclosing, describing or claiming any invention

      disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

      date of any application whose benefit is claimed in the Asserted Patent, whether or not

      abandoned and whether or not issued.

21.   “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

      Related Application(s) or Asserted Patent, including any patents or applications that may

      have been opposed, reexamined, re-issued or subjected to any validity or nullity

      proceeding.

22.   “Third Party” shall refer to any person other than Plaintiff or Defendants.




                                                5
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 12 of 78




23.   “You,” “Your,” “Yours” shall refer to Basepoint Administrative, LLC (BP Funding Trust,

      Series SPL-VI), and any and all of its then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

24.   Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

      singular or plural, as in each case is most appropriate.

25.   The singular form of any word shall be construed to also include the plural, and vice-versa.

26.   The word “each” shall be construed to mean “each and every.”

27.   The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

      makes the request more inclusive.

28.   The words “any” and “all” shall be construed to mean “any and all.”

                                       INSTRUCTIONS

1.    This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

      shall be interpreted as inclusive rather than exclusive.

2.    In responding to the Document requests set forth below, please furnish all responsive and

      non-privileged information that is available to You.

3.    Please produce the requested Documents as they are kept in the ordinary course of business.

4.    If production of any responsive Documents are being withheld on the ground of the

      attorney-client privilege, attorney work product, or any other privilege, immunity, or

      protection, please provide a privilege log with the following information for each such

      Document: (a) the name of the Document; (b) the name of the person(s) who prepared the

      Document; (c) the name of the person(s) to whom the Document was directed or circulated;

      (d) the date(s) on which the Document was prepared or transmitted; (e) the name of the


                                                6
     Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 13 of 78




     person(s) now in possession of the Document; (f) a description of the subject matter of the

     Document; and (g) the specific nature of the privilege or protection claimed with respect

     to the Document.

5.   The Court’s interim protective order in the Order Governing Proceedings shall govern the

     disclosure of confidential information in this Action:

            Pending entry of the final Protective Order, the Court issues the following
            interim Protective Order to govern the disclosure of confidential
            information in this matter:

                    If any document or information produced in this matter is
                    deemed confidential by the producing party and if the Court
                    has not entered a protective order, until a protective order is
                    issued by the Court, the document shall be marked
                    “confidential” or with some other confidential designation
                    (such as “Confidential – Outside Attorneys Eyes Only”) by
                    the disclosing party and disclosure of the confidential
                    document or information shall be limited to each party’s
                    outside attorney(s) of record and the employees of such
                    outside attorney(s).

                    If a party is not represented by an outside attorney,
                    disclosure of the confidential document or information shall
                    be limited to one designated “in house” attorney, whose
                    identity and job functions shall be disclosed to the producing
                    party 5 days prior to any such disclosure, in order to permit
                    any motion for protective order or other relief regarding such
                    disclosure. The person(s) to whom disclosure of a
                    confidential document or information is made under this
                    local rule shall keep it confidential and use it only for
                    purposes of litigating the case.

6.   Upon entry of a final protective order in this matter that protective order shall govern the

     disclosure of confidential information in this Action.




                                              7
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 14 of 78




                                   DOCUMENT REQUESTS

       1.        Documents regarding the Asserted Patent, any Related Patents, or Related

Applications, including any alleged infringement of such patents.

       2.        Documents relating to any Prior Art search performed by You, on Your behalf, or

that You are aware of, relating to the Asserted Patent, any Related Patent, or Related Application

(including, but not limited to, any search methodology, results and any policies regarding Prior

Art searches).

       3.        Documents regarding whether any claim in the Asserted Patent is invalid, valid,

enforceable, or unenforceable (including any Prior Art or alleged Prior Art).

       4.        Documents sufficient to identify all products of which you are/were aware that

practiced or currently practice any claim of the Asserted Patent, Related Patents, or Related

Applications and all allegations of which you are/were aware that products practiced or currently

practice any claim of the Asserted Patent, Related Patents, or Related Applications.

       5.        Documents and Communications concerning any evaluation or analysis of the

Asserted Patent, Related Patents, or Related Applications, whether individually or in combination

with any other patents or applications, including any evaluation or analysis of infringement,

validity, or commercialization.

       6.        Documents and Communications concerning any ranking (in terms of strength,

value, or otherwise) or rating of, or attempts to rank or rate the Asserted Patent, Related Patents,

or Related Applications, whether individually or in combination with any other patents or

applications, or any portfolio containing the Asserted Patent, Related Patents, or Related

Applications.

       7.        Documents and Communications concerning each proposal, offer or other


                                                 8
       Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 15 of 78




discussions by you or your predecessors in interest, regarding actual or potential agreements with

Allied Security Trust, or WSOU regarding any asserted patent including communications

regarding such a proposal, draft agreements, and executed agreements.

        8.      Communications (or Documents relating thereto) with Alcatel or Nokia regarding

the Asserted Patent, Related Patents, or Related Applications.

        9.      Communications (or Documents relating thereto) between You and Plaintiff

relating to a) the Asserted Patent, Related Patents, Related Applications, or Other Action Patents;

b) this Action (including the initiation of or projected outcomes from this Action); c) any

Defendant or its products; and d) any portfolio of which the Asserted Patent, Related Patents,

Related Applications were a part.

        10.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement of the Asserted Patent of any Related Patent against any

Defendant.

        11.     Documents and Communications concerning any decision to pursue or not to

pursue any claim of infringement against any of the Other Action Defendants.

        12.     Documents regarding ownership, assignment, licenses, royalties, covenants,

standstills, settlements, acquisition, financial interest, security interest, sale, transfer of rights (in

whole or in part), or any other disposition of, or any offers to buy, sell, or license the Asserted

Patent, Related Patents, Related Applications or Other Action Patents. This includes, but is not

limited to:

                 a.       Offers to buy, sell, or license, agreements granting rights, assignments,

                          licenses, covenants, royalties, settlements, agreements releasing any third

                          party from liability for infringement, and covenants not to sue, involving



                                                    9
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 16 of 78




                        or concerning the Asserted Patent, Related Patents, Related Applications,

                        or Other Action Patents;

                b.      Negotiations, discussions, or other Communications relating to the

                        Documents referenced in sub-paragraph (a); and

                c.      Communications (or documents relating thereto) between You and any

                        potential Licensee or purchaser of the Asserted Patent, Related Patents,

                        Related Applications, or Other Action Patents.

       13.     Documents and Communications concerning any right, title, or interest in any

litigation or action involving any of the Asserted Patent, Related Patents, or Other Action

Defendants.

       14.     Documents and Communications concerning any business plans, marketing plans,

marketing efforts, advertising plans, advertising efforts, promotional programs, involving or

concerning the Asserted Patent, Related Patents, Related Applications or Other Action Patents.

       15.     Documents and Communications concerning any budgets, forecasts, revenues,

projections, costs, sales, expenses, margins, profits, or any other means for generating revenue

from any Product, process, equipment, or service that allegedly embodies any claim of the

Asserted Patent or any Other Action Patents.

       16.     Valuations of the Asserted Patent, Related Patents, Related Applications or Other

Action Patents, either alone, or together with other patents or consideration, including as part of

an intellectual property portfolio, and including any appraisals or valuations for tax purposes.

       17.     Documents (or Communications relating thereto) concerning any licensing policy

that You may have, including without limitation policies and practices relating to taking or

granting licenses, relating to any of the Asserted Patent, Related Patents, Related Applications,


                                                10
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 17 of 78




or Other Action Patents.

           18.   Documents and Communications concerning whether all of the Licensees of the

 Asserted Patent have complied with the marking or notice provisions of 35 U.S.C. § 287(a) with

 respect to the Asserted Patent.

       19.       Documents sufficient to identify the nature and scope of any rights in the Asserted

Patent that You have obtained and/or retained at any time, including, without limitation, any right

to control litigation, future royalties, payments for licenses, or payments relating to or resulting

from the outcome of any litigation involving the Asserted Patent, Related Patents, or Other Action

Patents.




                                                  11
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 18 of 78




             EXHIBIT 2
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 19 of 78




                      ORAL EXAMINATION TOPICS REQUESTED

        Defendants Dell Technologies Inc., Dell Inc., and EMC Corporation (collectively,

 “Defendants”) seek to ask questions on topics described below.

                                         DEFINITIONS

        The following definitions are applicable to terms employed in responding to this request:

1.     “Accused Product” or “Accused Products” shall refer to any device, product, or other thing

       that Plaintiff is permitted to accuse of infringing the Asserted Patent in this Action. A copy

       of the Complaint in case numbers 6:20-cv-00475-ADA, 6:20-cv-00477-ADA, 6:20-cv-

       00478-ADA, 6:20-cv-00479-ADA is attached as Exhibit 3. In referring to any device,

       product, or other thing as an “Accused Product,” Defendants in no way communicate their

       agreement that it infringes the Asserted Patent.

2.     “Action” shall refer to the above-captioned proceeding in the United States District Court

       for the Western District of Texas, with case numbers: 6:20-cv-00475-ADA, 6:20-cv-

       00477-ADA, 6:20-cv-00478-ADA, 6:20-cv-00479-ADA.

3.     “Alcatel” shall mean Alcatel-Lucent International and all parents, subsidiaries, affiliates,

       predecessors, successors, including but not limited to Alcatel and Lucent Technologies.

4.     “Asserted Claim” shall refer to each claim of the Asserted Patent that Plaintiff contends

       Defendants infringe.

5.     “Asserted Patent(s)” shall refer to U.S. Patent Nos. 7,126,921; 7,453,888; 8,402,129;

       8,913,489 and any patent applications related thereto.

6.     “Communication” shall mean, without limitation, any written, oral, or other transmission

       of information, including but not limited to emails.




                                                 2
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 20 of 78




7.    “Complaint” shall refer to the Complaint (including exhibits) that Plaintiff filed on June 2,

      2020 as docket number 1 in this Action, the Amended Complaint filed on October 19,

      2020, and any other amended complaints thereafter.

8.    “Concerning,” “refer(s) to,” “related to,” “reflecting,” “regarding,” and “relating to” shall

      mean directly or indirectly relating to, referring to, regarding, mentioning, reflecting,

      pertaining to, evidencing, illustrating, involving, describing, discussing, commenting on,

      embodying, responding to, supporting, contradicting, or constituting (in whole or in part),

      as the context makes appropriate.

9.    “Defendants” or “Defendant” shall refer to Dell Technologies Inc., Dell Inc., and EMC

      Corporation, and any and all of their then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

10.   “Document” shall include, without limitation, all documents, electronically stored

      information, and tangible things within the scope of the Federal Rules of Civil Procedure,

      including Rule 34. Federal Rules of Civil Procedure 34 permits discovery of: “(A)

      documents or electronically stored information—including writings, drawings, graphs,

      charts, photographs, sound recordings, images, and other data or data compilations—stored

      in any medium from which information can be obtained either directly or, if necessary,

      after translation by the responding party into a reasonably usable form; or (B) any

      designated tangible things.”

11.   “Employee” shall refer to any officer, director, partner, employee, representative, or agent.




                                                3
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 21 of 78




12.   “Licensee(s)” shall refer to any entity having a license, assignment, covenant not to sue, or

      other understanding, written, oral or implied, that the entity has any rights to the Asserted

      Patent, any Related Patents, or any Related Applications, may practice one or more claims

      of the Asserted Patent and/or that Plaintiff will not file suit or otherwise enforce against

      that entity one or more claims of the Asserted Patent or any Related Patent or Related

      Application.

13.   “Nokia” shall mean Nokia Corporation and all parents, subsidiaries, affiliates,

      predecessors, including but not limited to Nokia Technologies Oy and Nokia Solutions and

      Networks BV.

14.   “Person” shall refer to any natural person, firm, association, partnership, government

      agency, corporation, proprietorship, or other entity and its officers, directors, partners,

      employee, representatives, and agents.

15.   The terms “Plaintiff,” and/or “WSOU” shall refer to the responding Plaintiff WSOU

      Investments, LLC d/b/a Brazos Licensing and Development, and any and all of its then-

      current or prior subsidiaries, parents, affiliates, divisions, successors, predecessors, agents,

      employees, representatives, directors, officers, trustees, and attorneys, or any other person

      or entity acting in whole or in part in concert with any of the foregoing, directly or

      indirectly.

16.   “Prior Art” encompasses, without limitation, the subject matter described in each and every

      subdivision of 35 U.S.C. §§ 102 and 103, and includes, but is not limited to, memoranda,

      notes, manuals, interviews, testing data, disclosures, prototypes, correspondence,

      drawings, papers, articles, patents, printed publications, public uses, demonstrations, offers

      for sale or license, and sales.




                                                 4
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 22 of 78




17.   “Product(s)” means a machine, manufacture, apparatus, device, instrument, mechanism,

      appliance, software, service, process, or an assemblage of components/parts (either

      individually or collectively) that are designed to function together electronically,

      mechanically, or otherwise, including any offered for sale or under development.

18.   “Related Application(s)” means any and all applications related to the Asserted Patent,

      including any provisional or non-provisional applications, continuations, continuations- in-

      part, divisions, interferences, reexaminations, re-issues, parents, foreign counterpart

      applications, and any other applications disclosing, describing or claiming any invention

      disclosed, described or claimed in the Asserted Patent, or claiming the benefit of the filing

      date of any application whose benefit is claimed in the Asserted Patent, whether or not

      abandoned and whether or not issued.

19.   “Related Patent(s)” means any and all U.S. or foreign patents based upon or related to any

      Related Application(s) or Asserted Patent, including any patents or applications that may

      have been opposed, reexamined, re-issued or subjected to any validity or nullity

      proceeding.

20.   “Third Party” shall refer to any person other than Plaintiff or Defendants.

21.   “You,” “Your,” “Yours” shall refer to Basepoint Administrative, LLC (BP Funding Trust,

      Series SPL-VI), and any and all of its then-current or prior subsidiaries, parents, affiliates,

      divisions, successors, predecessors, agents, employees, representatives, directors, officers,

      trustees, and attorneys, or any other person or entity acting in whole or in part in concert

      with any of the foregoing, directly or indirectly.

22.   Any pronouns shall be construed to refer to the masculine, feminine, or neutral gender, in

      singular or plural, as in each case is most appropriate.




                                                5
          Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 23 of 78




23.       The singular form of any word shall be construed to also include the plural, and vice-versa.

24.       The word “each” shall be construed to mean “each and every.”

25.       The words “and” and “or” shall be construed conjunctively or disjunctively, whichever

          makes the request more inclusive.

26.       The words “any” and “all” shall be construed to mean “any and all.”

                                           INSTRUCTIONS

1.        This request seeks disclosure to the full extent of the Federal Rules of Civil Procedure and

          shall be interpreted as inclusive rather than exclusive.

2.        It is Your duty in responding to this request to designate one or more officers, directors,

          managing agents, or other Persons who are the most knowledgeable with respect to the

          topics identified below.

                                       DEPOSITION TOPICS

           1.      The past and current ownership of the Asserted Patent, including its chain of

 title.

           2.      Any facts, studies, investigations, information, documents (including Prior Art),

 and analyses You identified, received, or knew at any time relating to the alleged validity,

 enforceability, infringement, valuation, or priority dates of the Asserted Patent, Related Patents,

 Related Applications, or patents and applications incorporated by reference into the Asserted

 Patent, including any Communications with third parties relating to the foregoing.

           3.      Any attempts to sell or otherwise transfer financial interests in the Asserted

 Patent, any portfolio of patents containing the Asserted Patent, any patents related to the subject

 matter of the Asserted Claims, and any patent that was asserted against any of the entities that

 Plaintiff has accused of patent infringement (including but not limited to, Huawei, ZTE,

 Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks,


                                                    6
     Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 24 of 78




Salesforce, Cisco, and NetGear).

       4.      The timing and circumstances related to Your first knowledge or awareness of

any alleged infringement of the Asserted Patent by each of the Defendants.

       5.      Any evaluation or analysis of the Asserted Patent, Related Patents, or Related

Applications, whether individually or in combination with any other patents or applications,

including any evaluation or analysis of infringement, validity, or commercialization.

       6.      All products of which you are/were aware that practiced or currently practice

any claim of the Asserted Patent, Related Patents, or Related Applications and all allegations

of which you are/were aware that products practiced or currently practice any claim of the

Asserted Patent, Related Patents, or Related Applications.

       7.      Any ranking (in terms of strength, value, or otherwise) or rating of, or attempts

to rank or rate the Asserted Patent, Related Patents, or Related Applications, whether

individually or in combination with any other patents or applications, or any portfolio

containing the Asserted Patent, Related Patents, or Related Applications.

       8.      Each proposal, offer or other discussions by you or your predecessors in interest,

regarding actual or potential agreements with Allied Security Trust, or WSOU regarding any

asserted patent including communications regarding such a proposal, draft agreements, and

executed agreements.

       9.      Any Communications with Alcatel or Nokia regarding the Asserted Patent,

Related Patents, or Related Applications.

       10.     Any decision to pursue or not to pursue any claim of infringement of any of the

claims of the Asserted Patent against any Defendant or any of the entities that Plaintiff has

accused of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google,



                                               7
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 25 of 78




 HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco,

 and NetGear).

         11.     Any efforts by You, any predecessor-in-interest of the Asserted Patent, or any

 other Person to enforce or license the Asserted Patent, or any portfolio of patents containing the

 Asserted Patent, any patents related to the subject matter of the Asserted Claims, or any patent

 that was asserted against any of the entities that Plaintiff has accused of patent infringement

 (including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

 Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear).

        12.      Your policies and practices concerning patent agreements (including licensing),

 including:

               a.      any written licensing policies or best practices;

               b.      any most favored Licensee;

               c.      the economic and technical factors considered by You in drafting and

                       entering into any license, royalty, standstill, partnership, joint venture,

                       vendor, or settlement agreements;

               d.      any standard or preferred terms for license, royalty, standstill or settlement

                       agreements;

               e.      the process by which You determine the nature, scope and terms of license

                       agreements in which You are a licensor; and

               f.      any circumstance in which You deviated from such policies.

       13.       Your knowledge of, and participation in, any Communications between

Plaintiff and Defendants prior to the filing of the Action.

       14.       Any Communications related to Plaintiff, including communications related to



                                                  8
       Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 26 of 78




licensing of any of the Asserted Patent, Related Patents, Related Applications, or any patent that

was asserted against any of the entities that Plaintiff has accused of patent infringement

(including but not limited to, Huawei, ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC,

Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and NetGear), and any

compensation, license rates, royalties related thereto, agreements with Plaintiff, Defendants, the

Action, the decision to file the Action, requests or offers to provide assistance, witnesses and/or

documents for use in the Lawsuit, and any discussion about standing of Plaintiff to bring the

Action.

          15.    Your relationship with all potential Licensees, including all agreements,

assurances, covenants not to sue, and understandings not to assert patents against such potential

Licensees, including but not limited to Communications and agreements relating to the Asserted

Patent, Related Patents, Related Applications, any patent that was asserted against any of the

entities that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear), and the circumstances relating to such activity.

          16.    Your relationship with any entity associated with Stuart A. Shanus, Marc Wade,

and/or Craig Etchegoyen, including without limitation Wade and Company, Orange Holdings,

WSOU, and/or Uniloc USA, Inc., 1 including any patent license agreements with any such entity

that relate to patents or patent applications that claim subject matter related to the subject matter

of the Asserted Claims.

          17.    Any Communication You engaged in regarding each Defendant and its



 1
     Stuart A. Shanus and Craig Etchegoyen are the Chairman and President of WSOU. Mark
     Wade, Wade and Company, Orange Holdings, and/or Uniloc USA, Inc. are all related
     persons or entities of WSOU.


                                                   9
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 27 of 78




respective Products or services, and any analysis You performed of each Defendant and each

entity that Plaintiff has accused of patent infringement (including but not limited to, Huawei,

ZTE, Microsoft, Google, HP, Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista

Networks, Salesforce, Cisco, and NetGear) and its respective Products and services related to

the Asserted Patent, Related Patents, Related Applications, and the patents asserted against any

of the entities that Plaintiff has accused of patent infringement.

          18.   Any valuations of the Asserted Patent, any portfolio of patents that includes the

Asserted Patent, any patent that was asserted against any of the entities that Plaintiff has accused

of patent infringement (including but not limited to, Huawei, ZTE, Microsoft, Google, HP,

Juniper, F5, Xilinx, NEC, Oneplus, Canon, TP-Link, Arista Networks, Salesforce, Cisco, and

NetGear), or any portfolio of patents that includes those patents.

          19.   Any licenses, assignments, conveyances, security interests, or other agreements

relating to the Asserted Patent, or any portfolio of patents that includes or included the Asserted

Patent, and offers and negotiations leading to and circumstances surrounding such agreement.

          20.      Any revenues and profits received by You for any Products practicing the

alleged invention of the Asserted Patent.

          21.   Revenues, costs, expenses, and profits (including gross and net profits)

generated in connection with the Asserted Patent, and the methodology used to calculate or

otherwise determine revenues, costs, expenses, and/or profits.

          22.   Any licensing fees and rates paid for each portfolio that includes the Asserted

Patent.

          23.   The rates paid by any Licensee for the use of other patents comparable to the

Asserted Patent.



                                                  10
      Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 28 of 78




       24.        Any financial interests that You may have in the Asserted Patent, including but

not limited to royalties and the outcome of the Action.

        25.       Your collection, retention and production of documents and information relevant

 to the Action.

       26.        The subject matter, content, and authenticity of all Documents and

Communications identified and/or produced in response to the above requests.

       27.        All Documents reviewed by You in connection with the deposition on these topics.

       28.        For each of the topics set forth in this request, the identity and location of Your

employee, agent, representative, independent contractor, or other partner, affiliate, or business

associate, with the most knowledge concerning that topic.




                                                 11
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 29 of 78




          EXHIBIT 3A
        Case
          Case
             6:20-cv-00486-ADA
               6:20-cv-00475-ADADocument
                                 Document167-2
                                           34 Filed
                                               Filed10/19/20
                                                     03/14/22 Page
                                                               Page130
                                                                     of of
                                                                        1078




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §              NO. 6:20-cv-475-ADA
                                                     §
             Plaintiff,                              §           JURY TRIAL DEMANDED
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §

             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, “Defendants”) and alleges:

                                        NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                               THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




                                                      1
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00475-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page231
                                                                   of of
                                                                      1078




       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.

       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.




                                                      2
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00475-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page332
                                                                   of of
                                                                      1078




                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,453,888

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       11.     On November 18, 2008, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,453,888 (“the ‘888 Patent”), entitled “Stackable Virtual Local

Area Network Provisioning in Bridged Networks.” A true and correct copy of the ‘888 Patent is

attached as Exhibit A to this Complaint.

       12.     Brazos is the owner of all rights, title, and interest in and to the ‘888 Patent,

including the right to assert all causes of action arising under the ‘888 Patent and the right to any

remedies for the infringement of the ‘888 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, networking

switches, including but not limited to, Force 10 MXL switches (collectively, the “Accused

Products”).

       14.     The Accused Products may be deployed in environments with Virtual Local Area

Network (VLAN) applications and virtualization hosts and can provide VLAN double tagging,

frame extensions for VLAN tagging, and native VLAN features, among other features. Force 10

MXL switches, for example, may enhance bandwidth and performance, as well as provide




                                                     3
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00475-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page433
                                                                   of of
                                                                      1078




flexibility to satisfy changing demands of data centers embracing virtualization, network

convergence, and other I/O-intensive applications or workloads.




https://i.dell.com/sites/csdocuments/Shared-Content_data-
Sheets_Documents/en/SS804_Dell_Force10_MXL.pdf

       15.    The Accused Products may configure a trunk port so that a numbered tag is inserted

in each ethernet frame to keep the traffic of different VLANs from mixing. Accused Products

running Per-VLAN Spanning Tree (PVST) configure their trunk ports appropriately.




http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying_the_Dell_Force10_MXL_on_a_Cisco_Nexus_Network_v1
_1.pdf




                                                  4
     Case
       Case
          6:20-cv-00486-ADA
            6:20-cv-00475-ADADocument
                              Document167-2
                                        34 Filed
                                            Filed10/19/20
                                                  03/14/22 Page
                                                            Page534
                                                                  of of
                                                                     1078




http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying_the_Dell_Force10_MXL_on_a_Cisco_Nexus_Network_v1
_1.pdf




                                           5
       Case
         Case
            6:20-cv-00486-ADA
              6:20-cv-00475-ADADocument
                                Document167-2
                                          34 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page635
                                                                    of of
                                                                       1078




        16.     Trunk ports in the accused products can participate in multiple VLANs over an

ethernet interface carrying multiple tagged VLANs and/or a single untagged VLAN.




http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying_the_Dell_Force10_MXL_on_a_Cisco_Nexus_Network_v1
_1.pdf
        17.     The Accused Products may configure all the trunk ports participating in VLANs

when the port is in a standby state. The configured trunk port may be enabled to begin forwarding

traffic as soon as its link is active.




http://bladesmadesimple.com/wp-
content/uploads/2017/05/Deploying_the_Dell_Force10_MXL_on_a_Cisco_Nexus_Network_v1
_1.pdf
        18.     In view of preceding paragraphs, each and every element of at least claim 1 of the

‘888 Patent is found in the Accused Products. And upon information and belief, each and every

element of at least claim 1 of the ’888 Patent is performed or practiced by Defendants at least

through Defendants’ own use and configuration of its own Accused Products, and/or through



                                                   6
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00475-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page736
                                                                   of of
                                                                      1078




Defendants’ own testing and configuration of its own Accused Products, and/or through

Defendants’ providing services for its Accused Products, including but not limited to providing

installation, deployment, support, and configuration of its Accused Products.

        19.     Defendants continue to directly infringe at least one claim of the ‘888 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale, importing,

and/or distributing the Accused Products in the United States, including within this judicial district,

without the authority of Brazos.

        20.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least May

2020, before the filing of this case. Further, Defendants had knowledge of their infringement of

the patent-in-suit before the filing of this Amended Complaint.1


1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file


                                                      7
       Case
         Case
            6:20-cv-00486-ADA
              6:20-cv-00475-ADADocument
                                Document167-2
                                          34 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page837
                                                                    of of
                                                                       1078




       21.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

‘888 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising, promoting,

and/or instructing include the documents at:

   •   http://bladesmadesimple.com/wp-
       content/uploads/2017/05/Deploying_the_Dell_Force10_MXL_on_a_Cisco_Nexus_Net
       work_v1_1.pdf
   •   https://i.dell.com/sites/csdocuments/Shared-Content_data-
       Sheets_Documents/en/SS804_Dell_Force10_MXL.pdf

       22.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘888 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘888 Patent. The Accused Products are especially made or adapted

for infringing the ‘888 Patent and have no substantial non-infringing use. For example, in view of

the preceding paragraphs, the Accused Products contain functionality which is material to at least

one claim of the ‘888 Patent.

                                           JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.



an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




                                                   8
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00475-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page938
                                                                   of of
                                                                      1078




                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘888 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘888 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘888 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘888 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




                                                      9
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00475-ADA Document
                                Document167-2
                                         34 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1039ofof1078




Dated: October 19, 2020                Respectfully submitted,

                                      /s/ James L. Etheridge
                                      James L. Etheridge
                                      Texas State Bar No. 24059147
                                      Ryan S. Loveless
                                      Texas State Bar No. 24036997
                                      Travis L. Richins
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                                      Law Firm of Walt, Fair PLLC.
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                                      COUNSEL FOR PLAINTIFF




                                            10
Case
 Case6:20-cv-00486-ADA
       6:20-cv-00482-ADA Document
                          Document167-2
                                   36 Filed
                                        Filed10/19/20
                                              03/14/22 Page
                                                        Page1540ofof1578




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                                COUNSEL FOR PLAINTIFF
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 41 of 78




            EXHIBIT 3B
        Case
          Case
             6:20-cv-00486-ADA
               6:20-cv-00477-ADADocument
                                 Document167-2
                                           33 Filed
                                               Filed10/19/20
                                                     03/14/22 Page
                                                               Page142
                                                                     of of
                                                                        1378




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §              NO. 6:20-cv-477-ADA
                                                     §
             Plaintiff,                              §           JURY TRIAL DEMANDED
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §

             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, “Defendants”) and alleges:

                                        NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                               THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.




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        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page243
                                                                   of of
                                                                      1378




       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.

       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.




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           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page344
                                                                   of of
                                                                      1378




                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 8,913,489

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       11.     On December 16, 2014, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,913,489 (“the ‘489 Patent”), entitled “System and Method for

Virtual Fabric Link Failure Recovery.” A true and correct copy of the ‘489 Patent is attached as

Exhibit A to this Complaint.

       12.     Brazos is the owner of all rights, title, and interest in and to the ‘489 Patent,

including the right to assert all causes of action arising under the ‘489 Patent and the right to any

remedies for the infringement of the ‘489 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, networking




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      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page445
                                                                   of of
                                                                      1378




switches with Virtual Link Trunking (VLT), including but not limited to, C9000 series switches

(collectively, the “Accused Products”).

       14.    The Accused Products provide multi-rate, modular switching platforms, which can

be used for campus, mid-market, and large-enterprise networks and support Layer 2 multipath

using VLT.




                                              …




https://www.dell.com/en-us/work/shop/povw/networking-c9000-series
       15.    The Accused Products operate based on Dell Networking OS (DNOS), which

incorporates features from Force10 Networks’s Force10 Operating System (FTOS), including

VLT. VLT allows two physical switches to be represented as a single logical switch, which can be

regarded as a part of a multi-chassis link aggregation group (MC-LAG). With physical links as a




                                                  4
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page546
                                                                   of of
                                                                      1378




port-channel, connecting two individual switches configured with VLT would logically group it

as a single entity only for the access switches which connect to the VLT domain.




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       16.     For example, a VLT topology may include two switches, including an Accused

Product, in a VLT Domain that communicates with servers by forming a multi-chassis link

aggregation group over port interfaces of the switches.




                                                   5
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page647
                                                                   of of
                                                                      1378




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf

       17.    Further, as shown in the example above, switches in the VLT Domain may be

considered VTI peer devices and connected using a VLTi interconnect port-channel, which acts a

virtual fiber link. The VLT interconnect (VLTi) carries MAC, ARP Tables, and IGMP State

information between the VLT peer switches in a VLT topology.




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      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page748
                                                                   of of
                                                                      1378




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf

       18.      The Accused Products can determine a connection failure of the VLTi

interconnect.




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf




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      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page849
                                                                   of of
                                                                      1378




              …



              …




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       19.    When the MC-LAG is disrupted (e.g., after the Accused Products determines VLTi

and back uplink failure between VLT peer switches), the MC-LAG can be reconfigured into two

link aggregates associated with each VLT peer switch to take the primary role and continue to

communicate traffic over link aggregates to the end node. In the Accused Products, the VLT

backup link can be configurable. If a VLT backup link is not enabled, then during VLTi failure,

both VLT peer switches may take primary roles to form link aggregates.




              …




https://downloads.dell.com/solutions/networking-solution-
resources/Virtual%20Link%20Trunking-Reference%20Architecture%202%200_External.pdf




                                                 8
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00477-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page950
                                                                   of of
                                                                      1378




https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf
       20.     In the event of VLTi failure causing disruption of the MC-LAG, the spanning tree

protocol (STP) may be initiated in the first set of port interfaces to avoid a traffic loop.




https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449/1/Route
d%20VLT%20v1.2.pdf

       21.     In view of preceding paragraphs, each and every element of at least claim 8 of the

‘489 Patent is found in the Accused Products. And upon information and belief, each and every

element of at least claim 8 of the ’489 Patent is performed or practiced by Defendants at least

through Defendants’ own use and configuration of its own Accused Products, and/or through

Defendants’ own testing and configuration of its own Accused Products, and/or through




                                                      9
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00477-ADA Document
                                Document167-2
                                         33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1051ofof1378




Defendants’ providing services for its Accused Products, including but not limited to providing

installation, deployment, support, and configuration of its Accused Products.

       22.     Defendants continue to directly infringe at least one claim of the ‘489 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

       23.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least

May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint.1.

       24.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the


1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,


                                                      10
       Case
        Case6:20-cv-00486-ADA
              6:20-cv-00477-ADA Document
                                 Document167-2
                                          33 Filed
                                               Filed10/19/20
                                                     03/14/22 Page
                                                               Page1152ofof1378




‘489 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

   •   https://www.dell.com/en-us/work/shop/povw/networking-c9000-series

   •   https://www.dell.com/en-us/work/shop/productdetailstxn/force10-ftos

   •   https://topics-cdn.dell.com/pdf/networking-c9000-series_users-guide_en-us.pdf

   •   https://downloads.dell.com/solutions/networking-solution-
       resources/Virtual%20Link%20Trunking-
       Reference%20Architecture%202%200_External.pdf

   •   https://www.dell.com/community/s/vjauj58549/attachments/vjauj58549/Network/35449
       /1/Routed%20VLT%20v1.2.pdf

       25.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘489 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘489 Patent. The Accused Products are especially made or adapted

for infringing the ‘489 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the ‘489 Patent.

                                            JURY DEMAND

LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).




                                                    11
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00477-ADA Document
                                Document167-2
                                         33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1253ofof1378




       Brazos hereby demands a jury on all issues so triable.


                                    REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘489 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘489 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘489 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘489 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare this case exceptional pursuant to 35 U.S.C. § 285; and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




                                                      12
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00477-ADA Document
                                Document167-2
                                         33 Filed
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Dated: October 19, 2020                Respectfully submitted,

                                      /s/ James L. Etheridge
                                      James L. Etheridge
                                      Texas State Bar No. 24059147
                                      Ryan S. Loveless
                                      Texas State Bar No. 24036997
                                      Travis L. Richins
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                                      Telephone: (254) 772-6400
                                      Facsimile: (254) 772-6432


                                      COUNSEL FOR PLAINTIFF




                                            13
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 55 of 78




            EXHIBIT 3C
        Case
          Case
             6:20-cv-00486-ADA
               6:20-cv-00478-ADADocument
                                 Document167-2
                                           34 Filed
                                               Filed10/19/20
                                                     03/14/22 Page
                                                               Page156
                                                                     of of
                                                                        1078




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
                                                     §              NO. 6:20-cv-478-ADA
   DEVELOPMENT,
                                                     §
                                                     §           JURY TRIAL DEMANDED
             Plaintiff,
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §


             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complain” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, “Defendants”) and alleges:

                                      NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                            THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.
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        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page257
                                                                   of of
                                                                      1078




       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.

       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.
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           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page358
                                                                   of of
                                                                      1078




                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 7,126,921

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       11.     On October 24, 2006, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,126,921 (“the ‘921 Patent”), entitled “Packet Network Providing

Fast Distribution of Node Related Information and a Method Therefor.” A true and correct copy

of the ‘921 Patent is attached as Exhibit A to this Complaint.

       12.     Brazos is the owner of all rights, title, and interest in and to the ‘921 Patent,

including the right to assert all causes of action arising under the ‘921 Patent and the right to any

remedies for the infringement of the ‘921 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, controlled

networking devices, including but not limited to, routers controlled by Dell Network Operating

System (“DNOS”) incorporating features of Force10 Network’s Force10 Operating System

(“FTOS”), including but not limited to the Dell Networking S3048-ON, Dell Networking S4048-

ON, Dell Networking S4810-ON, Dell Networking S6000-ON, and E-Series, C-Series, N-Series,

and S- Series hardware (collectively, the “Accused Products”).

       14.     The Accused Products operate based on Dell Networking OS (DNOS), which

incorporates features from    FTOS     for packet networks having nodes and links. FTOS supports
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        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page459
                                                                   of of
                                                                      1078




packet networks, which comprises multiple nodes and links. FTOS is a part of various Dell

networking devices, including E-Series, C-Series, and S- Series hardware.




https://www.networkworld.com/article/2179414/dell-takes-deeper-dive-into-networking--buys-
force10.html




                                                …




https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/CLIConfi
g/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf

       15.     FTOS can be installed on Dell Open Networking (ON) Switches, including Dell
Networking S3048-ON, S4048-ON, S4810-ON, and S6000-ON.




https://www.dell.com/support/article/us/en/04/how11548/how-to-install-dell-networking-ftos-on-
dell-open-networking-on-switches?lang=en
       16.     The Accused Products implement a control plane to control the nodes and a

forwarding (data) plane responsive to the control plane. A control plane is a set of protocols that

determine how the forwarding plane should forward packets, deciding which data packets are
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page560
                                                                   of of
                                                                      1078




allowed        to       be       forwarded         and       where         they       should        go.




https://cdn.competec.ch/documents/3/9/392428/DE_Handbuch_switch.pdf
       17.     Link State Advertisements (LSAs) help routing network devices forward data

packets. Link state information provides routing-related information to the nodes in the packet

network and is provided to the control plane for computing forward routing information.




https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/CLIConfi
g/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf

       18.     When one of the routing network devices goes down, there is a potential to lose

access to parts of the network, causing potential packet loss. Therefore, the network will want to

maintain a stable topology if it is possible for data flow to continue uninterrupted. To facilitate this

in networks using the Accused Products, the computed forward routing information gets
         Case
           Case
              6:20-cv-00486-ADA
                6:20-cv-00478-ADADocument
                                  Document167-2
                                            34 Filed
                                                Filed10/19/20
                                                      03/14/22 Page
                                                                Page661
                                                                      of of
                                                                         1078




downloaded into a Forwarding Information Base (FIB) on the line cards (the data plane) of the

routing network devices.




https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/CLIConfi
g/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf

         19.   The data plane provides fast propagation of link state information. For example,

type 9 link-local opaque grace-LSAs notify the helper neighbors during a restart process. The other

nodes routers continue to announce information regarding the restarting router if the network

topology is unchanged. Link state information contains the forward route information for the

nodes.




https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/CLIConfi
g/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page762
                                                                   of of
                                                                      1078




       20.     Moreover, Fast Convergence allows a user to define the speeds at which link-state

information originates and accepted to speed up route information propagation.




https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/CLIConfi
g/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf

       21.     In view of preceding paragraphs, each and every element of at least claim 1 of the

‘921 Patent is found in the Accused Products.

       22.     Defendants continue to directly infringe at least one claim of the ‘921 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

       23.     And upon information and belief, each and every element of at least one claim of

the patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use

and configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

       24.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page863
                                                                   of of
                                                                      1078




May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint.1

       25.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the

‘921 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

    ● https://www.networkworld.com/article/2179414/dell-takes-deeper-dive-into-
      networking--buys-force10.html

    ● https://www.force10networks.com/CSPortal20/KnowledgeBase/DOCUMENTATION/

1
  Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00478-ADADocument
                               Document167-2
                                         34 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page964
                                                                   of of
                                                                      1078




       CLIConfig/FTOS/All_CONFIG%20Book_8212_13-Oct-09.pdf

   ● https://cdn.competec.ch/documents/3/9/392428/DE_Handbuch_switch.pdf

   ● https://www.dell.com/support/article/us/en/04/how11548/how-to-install-dell-
     networking-ftos-on-dell-open-networking-on-switches?lang=en

       26.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘921 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘921 Patent. The Accused Products are especially made or adapted

for infringing the ‘921 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the ‘921 Patent.

                                        JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                      REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘921 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘921 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘921 Patent;

       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00478-ADA Document
                                Document167-2
                                         34 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1065ofof1078




the infringement by Defendants of the ‘921 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare    this   case   exceptional   pursuant   to   35   U.S.C.   §    285;   and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.




Dated: May 19, 2020                            Respectfully submitted,

                                              /s/ James L. Etheridge
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                                              Texas State Bar No. 24036997
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                                              Telephone: (254) 772-6400
                                              Facsimile: (254) 772-6432

                                              COUNSEL FOR PLAINTIFF
Case 6:20-cv-00486-ADA Document 167-2 Filed 03/14/22 Page 66 of 78




            EXHIBIT 3D
        Case
          Case
             6:20-cv-00486-ADA
               6:20-cv-00479-ADADocument
                                 Document167-2
                                           33 Filed
                                               Filed10/19/20
                                                     03/14/22 Page
                                                               Page167
                                                                     of of
                                                                        1278




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
                                                     §              NO. 6:20-cv-479-ADA
   DEVELOPMENT,
                                                     §
                                                     §           JURY TRIAL DEMANDED
             Plaintiff,
                                                     §
   v.                                                §
                                                     §
   DELL TECHNOLOGIES INC., DELL                      §
   INC., AND EMC CORPORATION,                        §
                                                     §
             Defendants.                             §


             FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

“Plaintiff”), by and through its attorneys, files this First Amended Complaint (“Amended

Complaint” or “Complaint”) for Patent Infringement against Dell Technologies Inc., Dell Inc., and

EMC Corporation (collectively, “Defendants”) and alleges:

                                 NATURE OF THE ACTION
        1.       This is a civil action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                        THE PARTIES
        2.       Brazos is a limited liability corporation organized and existing under the laws of

Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

        3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page268
                                                                   of of
                                                                      1278




       4.      On information and belief, defendant Dell Inc. is a Delaware corporation with a

principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

by its corporate parent, Dell Technologies Inc.

       5.      On information and belief, defendant EMC Corporation is a Massachusetts

corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682. EMC

Corporation is wholly owned by its corporate parent, Dell Technologies Inc.

                                 JURISDICTION AND VENUE
       6.      This is an action for patent infringement which arises under the Patent Laws of the

United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.

       7.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

       8.      This Court has specific and general personal jurisdiction over each defendant

pursuant to due process and/or the Texas Long Arm Statute, because each defendant has committed

acts giving rise to this action within Texas and within this judicial district. The Court’s exercise of

jurisdiction over each defendant would not offend traditional notions of fair play and substantial

justice because each defendant has established minimum contacts with the forum. For example,

on information and belief, each defendant has committed acts of infringement in this judicial

district, by among other things, selling and offering for sale products that infringe the asserted

patent, directly or through intermediaries, as alleged herein.

       9.      Venue in the Western District of Texas is proper pursuant to 28 U.S.C. §§1391

and/or 1400(b). Each defendant has established places of business in the Western District of Texas.

Each defendant is registered to do business in Texas. Upon information and belief, each defendant

has transacted business in this District and has committed acts of infringement in this District.
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page369
                                                                   of of
                                                                      1278




                             COUNT ONE - INFRINGEMENT OF
                                U.S. PATENT NO. 8,402,129

       10.     Brazos re-alleges and incorporates by reference the preceding paragraphs of this

Complaint.

       11.     On March 19, 2013, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 8,402,129 (“the ‘129 Patent”), entitled “Method and Apparatus for Efficient

Reactive Monitoring.” A true and correct copy of the ‘129 Patent is attached as Exhibit A to this

Complaint.

       12.     Brazos is the owner of all rights, title, and interest in and to the ‘129 Patent,

including the right to assert all causes of action arising under the ‘129 Patent and the right to any

remedies for the infringement of the ‘129 Patent.

       13.     Defendants make, use, sell, offer for sale, import, and/or distribute in the United

States, including within this judicial district, products such as, but not limited to, network

management systems, including but not limited to, Dell EMC OpenManage Enterprise and Dell

OpenManage Enterprise (OME) and OpenManage Network Manager (OMNM) applications

(collectively, the “Accused Products”).

       14.     The Accused Products can provide a console for managing hardware devices,

including Dell servers, storage arrays, tape libraries, network devices (switches/routers), printers,

and clients distributed throughout a network. Dell OME can be integrated with OMNM to view

networking information. From a central console, an administrator can exercise control based on

proactive alerts and notifications.
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page470
                                                                   of of
                                                                      1278




       15.    Various devices that can be discovered and monitored by Dell OME.




Product Testing.

       16.    Dell OME identifies systems experiencing problems and alerts the administrator

to help reduce the risk of system downtime. Using the web-enabled graphical user interface, one

can monitor systems within the network.




https://www.delltechnologies.com/en-us/solutions/openmanage/enterprise.htm




https://topics-cdn.dell.com/pdf/dell-openmanage-enterprise-v32_api-guide2_en-us.pdf
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page571
                                                                   of of
                                                                      1278




Product Testing


       17.    Dell OME monitors various resources (e.g. “current” of system board) of nodes

(i.e. monitored device) within the network. As an example, the alert with MESSAGE ID -
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page672
                                                                   of of
                                                                      1278




AMP0302 is generated for a monitored device when the system board current of the device (i.e.

usage of resource) reaches beyond the upper warning threshold.




Product Testing.

       18.     The Accused Products poll the monitored devices on regular user-defined time

interval bases irrespective of any alerts received from the monitoring devices. Dell OME

provides independent settings and functionalities for alert policies and health check polling.

       19.     Dell OME provides the ability for a user to define the time interval for the health

poll recurrence and a Global health task performs the job repeatedly to poll the health of the

devices in defined time intervals irrespective of the alerts received by Dell OME. When an alert
       Case
         Case
            6:20-cv-00486-ADA
              6:20-cv-00479-ADADocument
                                Document167-2
                                          33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page773
                                                                    of of
                                                                       1278




is received, the polling of the devices may occur independently at the user-defined interval (i.e.

irrespective of the alert).




Product Testing.




Product Testing.
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        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page874
                                                                   of of
                                                                      1278




       20.     In view of preceding paragraphs, each and every element of at least claim 3 of the

‘129 Patent is found in the Accused Products.

       21.     Defendants continue to directly infringe at least one claim of the ‘129 Patent,

literally or under the doctrine of equivalents, by making, using, selling, offering for sale,

importing, and/or distributing the Accused Products in the United States, including within this

judicial district, without the authority of Brazos.

       22.     And upon information and belief, each and every element of at least one claim of

the patent-in-suit is performed or practiced by Defendants at least through Defendants’ own use

and configuration of its own Accused Products, and/or through Defendants’ own testing and

configuration of its own Accused Products, and/or through Defendants’ providing services for its

Accused Products, including but not limited to providing installation, deployment, support and

configuration of its Accused Products.

       23.     In May 2020, Plaintiff filed a suit against Defendants asserting infringement of

the same patent and by the same accused products that are asserted in this case. Plaintiff

dismissed the prior suit before filing this suit. As a result of the prior suit, Defendants had notice

and actual or constructive knowledge of their infringement of the patent-in-suit since at least

May 2020, before the filing of this case. Further, Defendants had knowledge of their

infringement of the patent-in-suit before the filing of this Amended Complaint.1

       24.     Since at least May 2020, through its actions, Defendants have actively induced

product makers, distributors, retailers, and/or end users of the Accused Products to infringe the


1
 Dell filed a motion to dismiss that is mooted by this amended complaint. Dell’s motion cites a
WDTX case (which relies authority from the District of Delaware) for the proposition that
knowledge of a plaintiff’s patent after the lawsuit was filed is insufficient to plead the requisite
knowledge for indirect infringement. See Aguirre v. Powerchute Sports, LLC, No. SA-10-CV-
0702 XR, 2011 WL 2471299, at *3 (W.D. Tex. June 17, 2011) (citing Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D. Del. 2010)). Several Delaware courts have since rejected this rule
      Case
        Case
           6:20-cv-00486-ADA
             6:20-cv-00479-ADADocument
                               Document167-2
                                         33 Filed
                                             Filed10/19/20
                                                   03/14/22 Page
                                                             Page975
                                                                   of of
                                                                      1278




‘129 Patent throughout the United States, including within this judicial district, by, among other

things, advertising and promoting the use of the Accused Products in various websites, including

providing and disseminating product descriptions, operating manuals, and other instructions on

how to implement and configure the Accused Products. Examples of such advertising,

promoting, and/or instructing include the documents at:

   ● https://www.delltechnologies.com/en-us/solutions/openmanage/enterprise.htm

   ● https://topics-cdn.dell.com/pdf/dell-openmanage-enterprise-v32_api-guide2_en-us.pdf

   ● https://www.dell.com/support/article/en-us/sln312494/support-for-openmanage-
     essentials?lang=en

   ● https://www.dell.com/support/article/en-us/sln310714/support-for-openmanage-
     enterprise?lang=en

   ● https://www.dell.com/us/bsd/p/dell-openmanage-network-
     manager/pd?c=us&cs=04&l=en&s=bsd&redirect=1

   ● https://www.youtube.com/watch?v=MNIJNVbeXLE

   ● https://topics-cdn.dell.com/pdf/openmanage-essentials-v25_users-guide_en-us.pdf

   ● https://topics-cdn.dell.com/pdf/dell-openmanage-server-administrator-

because there is no statutory basis to support it and because there is no purpose served by the
formality of requiring the plaintiff to file an amended complaint in order to be allowed to assert
knowledge of the patents during the period following the filing of the original complaint. See
Walker Digital, LLC v. Facebook, Inc., 852 F. Supp. 2d 559, 566 (D. Del. 2012) (“The court
acknowledges that this result is inconsistent with its prior decisions in Xpoint Techs. v. Microsoft
Corp., 730 F.Supp.2d 349 (D.Del.2010), and EON Corp. IP Holdings LLC v. FLO TV Inc., 802
F.Supp.2d 527 (D. Del. 2011). Given the ease of amendment, the limitation of damages to post-
knowledge conduct, and in the interests of judicial economy, the court finds that the better
reasoning is to allow a complaint that satisfies Rule 8 to proceed to discovery rather than
dismissing it for lack of pre-filing knowledge when, by the time the motion to dismiss has been
filed, defendant in fact has the requisite knowledge as pled by plaintiff.”); see also IOENGINE,
LLC v. PayPal Holdings, Inc., CV 18-452-WCB, 2019 WL 330515, at *4 (D. Del. Jan. 25, 2019)
(“The Court sees no purpose that would be served by the formality of requiring IOENGINE to file
an amended complaint in order to be allowed to assert knowledge of the patents during the period
following the filing of the original complaint.”).
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00479-ADA Document
                                Document167-2
                                         33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1076ofof1278




       v8.3_connectivity-guide_en-us.pdf

   ● http://www.doradosoftware.com/_assets/downloads/omnm/omnmv8userguide.pdf

   ● https://www.dell.com/support/manuals/us/en/04/dell-openmanage-essentials-
     v2.2/ome22ug/status-polling-schedule-settings?guid=guid-1a47107a-e2c9-4102-b2e3-
     938477093317&lang=en-us

   ● https://downloads.dell.com/manuals/all-
     products/esuprt_ser_stor_net/esuprt_networking/dell-openmanage-network-
     manager_owners-manual4_en-us.pdf

       25.     Since at least May 2020, through its actions, Defendants have contributed to the

infringement of the ‘129 Patent by having others sell, offer for sale, or use the Accused Products

throughout the United States, including within this judicial district, with knowledge that the

Accused Products infringe the ‘129 Patent. The Accused Products are especially made or adapted

for infringing the ‘129 Patent and have no substantial non-infringing use. For example, in view

of the preceding paragraphs, the Accused Products contain functionality which is material to at

least one claim of the ‘129 Patent.

                                       JURY DEMAND
       Brazos hereby demands a jury on all issues so triable.


                                      REQUEST FOR RELIEF

       WHEREFORE, Brazos respectfully requests that the Court:

       (A)     Enter judgment that Defendants infringe one or more claims of the ‘129 Patent

literally and/or under the doctrine of equivalents;

       (B)     Enter judgment that Defendants have induced infringement and continue to induce

infringement of one or more claims of the ‘129 Patent;

       (C)     Enter judgment that Defendants have contributed to and continue to contribute to

the infringement of one or more claims of the ‘129 Patent;
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00479-ADA Document
                                Document167-2
                                         33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1177ofof1278




       (D)     Award Brazos damages, to be paid by Defendants in an amount adequate to

compensate Brazos for such damages, together with pre-judgment and post-judgment interest for

the infringement by Defendants of the ‘129 Patent through the date such judgment is entered in

accordance with 35 U.S.C. § 284, and increase such award by up to three times the amount found

or assessed in accordance with 35 U.S.C. § 284;

       (E)     Declare    this   case   exceptional   pursuant   to   35   U.S.C.   §   285;   and

       (F)     Award Brazos its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.
      Case
       Case6:20-cv-00486-ADA
             6:20-cv-00479-ADA Document
                                Document167-2
                                         33 Filed
                                              Filed10/19/20
                                                    03/14/22 Page
                                                              Page1278ofof1278




Dated: October 19, 2020                Respectfully submitted,

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                                      Ryan S. Loveless
                                      Texas State Bar No. 24036997
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